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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 DONNA CURLING, ET AL.,
    Plaintiffs,
                                           Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
     Defendants.




        CURLING PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
             MOTION FOR PRELIMINARY INJUNCTION




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I.     INTRODUCTION

        “Voting is the beating heart of democracy.” League of Women Voters of Fla.,

Inc. v. Detzner, 314 F. Supp. 3d 1205, 1215 (N.D. Fla. 2018). It is a right guaranteed

by the United States Constitution—not just to cast a vote, but to have it counted as

intended. This fundamental right is under assault, including by sophisticated nation

states, such as Russia.1 Those efforts have specifically targeted Georgia.2 Despite

this reality—and despite multiple admonitions from this Court to maintain a secure,

reliable voting system—Defendants inexplicably have refused to do that. They

adopted the current system against the advice of their own election security experts.3

They also have steadfastly refused to allow any election security experts to inspect

that system, just as with the prior system while it was in use despite being hacked


1
  Sean Gallagher, DHS, FBI say election systems in all 50 states were targeted in
2016, Ars Technica (Apr. 10, 2019, 2:20 PM), https://arstechnica.com/information-
technology/2019/04/dhs-fbi-say-election-systems-in-50-states-were-targeted-in-
2016/.
2
  Sergio Bustos, Feds: Russian hackers targeted election websites in Fla., Ga. And
Iowa in 2016 elections, USA Today (July 14, 2018, 1:07 AM),
https://www.usatoday.com/story/news/2018/07/13/feds-russians-targeted-election-
websites-florida-georgia-and-iowa/784391002/.
3
  Dkt. No. 554, Shamos Dep. at 56:13-57:2, 57:13-21; Dkt. No. 615-2 (“Lee I”) at
4 (In his recommendation to the SAFE Commission set up by Governor Kemp, Dr.
Lee concludes, “A secure voting system should use hand-marked paper ballots
instead of ballot marking devices. . . . This consensus approach among the
cybersecurity research community ensures that votes by the voters are counted
accurately.”).

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multiple times. Against the backdrop of an unsecured, unreliable system, voters

cannot even verify their own votes in the current system. Voting in Georgia is akin

to whispering one’s vote to someone behind a curtain and hoping they record it as

intended. The Constitution requires more. And so should this Court.

       The current voting system suffers from at least three fatal flaws that render it

unconstitutional: (i) no voter can verify his or her own vote 4 ; (ii) the system is

unsecured in an environment of advanced persistent threats and numerous security

vulnerabilities5; and (iii) the system is so needlessly complicated and cumbersome

that it disenfranchises voters. Defendants offer essentially two defenses: trust the

system, and failing that, trust whatever audit they plan to conduct at some point in

the future. Again, the Constitution requires more—and so should this Court.

       The little testing Defendants point to for the system is far from adequate, just

as their own election security expert admitted about the prior system—an

admonition they have likewise disregarded for the new, BMD-based system.6 They


4
  As this Court observed and Defendants admit, “no elector can visually review and
confirm whether the QR code accurately conveys his or her votes, as filled out on
the BMD screen or appearing on the printout.” Curling v. Raffensperger, 397 F.
Supp. 3d 1334, 1341 n.10 (N.D. Ga. 2019) (“Curling II”).
5
  Id. at 1375-82.
6
  See Dkt. No. 554, Shamos Dep. at 56:13-57:2, 57:13-21; see also Lee I at 2
(“[T]o have a voter cast his vote on a [BMD] with a cyber component, and print
out a paper receipt that the voter would verify” is “much less desirable” than
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again claim that the system is “air-gapped”. But they offer no evidence of this and

tellingly resist any discovery, which belied this claim the last time they made it, as

their expert admitted.    Plaintiffs already have learned that the new system is

connected to the Internet via WiFi networks that allow remote access by Dominion,

and potentially others.7, 8 Worse yet, there is evidence of significant data errors and

the State’s unwillingness to assess the core security concern.9 In fact, it appears

Defendants are entrusting Dominion with much of the operations and security of the

system—akin to entrusting ballot building to independent contractors working out



“hand-marked paper ballots, [where] a voter both casts and verifies” his or her
selections, in part because the BMD “may have a vulnerability that could be
exploited to change votes.”).
7
  “[D]uring the November 2019 pilot of the state’s new voting equipment, the
Secretary of State responded to widespread electronic pollbook problems that were
disrupting the normal voting process by directing the private vendors that support
this equipment to ‘do a universal fix quickly by loading [a] dataset through a WiFi
connection.’” Letter to Jasmine Shannon, Elections Division, Ga. Sec’y of State,
Brennan Center for Justice (Jan. 13, 2020),
https://www.brennancenter.org/sites/default/files/2020-
01/Brennan%20Center_Public%20Comment_Georgia%20Proposed%20Election%
20Rules.pdf. See also Ga. Sec’y of State, Executive Summary, Initial Findings:
Pilot Counties Municipal Elections 2019, New Georgia Statewide Voting System
(Nov. 14, 2019),
https://sos.ga.gov/admin/uploads/Executive_Summary_Initial_Findings_Pilots_11-
14-19.pdf.
8
  State Defendants’ own expert advised against this. (Dkt. No. 554 at 70:25-71:2
(Dr. Shamos: “The systems in use for election management should never, at any
point in their life, have ever been—ever be connected to the Internet.”).)
9
  See, e.g., Ga. Sec’y of State, Executive Summary, supra note 8, at 4.
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of their homes in the prior system. And the little already known about the “audit”

Defendants conducted in Fulton County during the June 2020 primaries establishes

that it is wholly unreliable for catching outcome-altering interference or failures.

       Beginning with the 2019 pilot elections for the new BMD-based system and

continuing through recent elections, the new system has proven spectacularly

chaotic and unreliable. 10     This comes as no surprise given the enormous,

unprecedented undertaking Defendants assumed with this needlessly complicated

system composed of many electronic components. The Court had the foresight to

anticipate the sort of problems that have plagued the system and disenfranchised

voters, and required a contingency plan to protect the right to vote in Georgia.11 But

Defendants never adopted—much less implemented—an actual contingency plan.



10
   Mark Niesse & David Wickert, Georgia bets on new voting system amid high-
stakes election, Atlanta Journal-Constitution (Jan. 15, 2020),
https://www.ajc.com/news/state--regional-govt--politics/georgia-bets-new-voting-
system-amid-high-stakes-election/XVR7Jw5i1J7MiZ11O8xUZK/; Nick Corasaniti
& Stephanie Saul, Georgia Havoc Raises New Doubts on Pricey Voting Machines,
N.Y. Times (June 11, 2020),
https://www.nytimes.com/2020/06/11/us/politics/georgia-voting-machines.html.
11
   Dkt. No. 768 at 4-5 (“As the record evidence indicated that no State in the nation
had previously introduced a new statewide voting system in the short time frame
projected by the Georgia Secretary of State for rollout of the BMD system and as
the severe inadequacies of the DRE system made for a faulty foundation for the
future, the Court addressed in its order the issue of the need for a contingency plan
other than continued use of the DRE system.”).

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Instead, they subjected Curling Plaintiffs and other Georgia voters to widespread

malfunctions of voting equipment, average wait times approaching four hours, and

lack of sufficient voting equipment, paper ballots, poll workers, and training for the

workers they provided.12 Defendants were forced to admit that their performance

was, yet again, “unacceptable.” 13 Put simply, Defendants merely replaced one

unconstitutional system with another.

       For these reasons, Curling Plaintiffs seek preliminary injunctive relief against

further use of the Dominion BMD-based system for voting. Curling Plaintiffs

further seek to require hand-marked paper ballots (“HMPB”) for in-person voting,


12
   Mark Niesse, Problem with new election equipment delays voting in Georgia
counties, Atlanta Journal-Constitution (Nov. 6, 2019),
https://www.ajc.com/news/state--regional-govt--politics/problem-with-new-voting-
equipment-delays-voting-georgia-county/vxltEshk0grck0uJiWA5RM/; Richard
Fausset, Reid J. Epstein & Rick Rojas,“I Refuse Not to Be Heard”: Georgia in
Uproar Over Voting Meltdown, N.Y. Times (June 9, 2020),
https://www.nytimes.com/2020/06/09/us/politics/atlanta-voting-georgia-
primary.html; Dianne Gallagher, Paul P. Murphy & Kelly Mena, Polls closed in
Georgia after a day marked by voters waiting for hours to cast their ballots, CNN
(June 10, 2020, 8:11 AM), https://www.cnn.com/2020/06/09/politics/georgia-
primary-election-delays/index.html; Maggie Miller, Georgia officials launch
investigation into election day chaos amid voter suppression concerns, The Hill
(June 9, 2020, 4:28 PM), https://thehill.com/policy/cybersecurity/501904-georgia-
officials-launch-investigation-into-election-day-chaos-amid.
13
   Kevin Collier et al., Georgia election “catastrophe” in largely minority areas
sparks investigation, NBC News (June 10, 2020, 7:07 AM),
https://www.nbcnews.com/politics/2020-election/georgia-secretary-state-launches-
investigation-after-unacceptable-voting-problems-n1228541.

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as it is well established that they are the only reasonably secure, reliable election

system today. The pilot elections this Court ordered last fall confirmed this fact.

Cobb County’s pilot of HMPBs was successful and fared far better than the BMD

pilots and subsequent elections.14 This real world application of the two systems has

debunked Defendants’ meritless objections to the reliability and feasibility of

HMPBs in Georgia and their defenses of the BMD-based system. A successful

model for HMPB elections already exists in Georgia. The relief Curling Plaintiffs

seek is thus feasible and readily can be implemented for upcoming 2020 elections.15

       Curling Plaintiffs understand this Court may be reluctant to order such relief

with elections approaching. But the real world application of the new system has

confirmed its unreliability and the need for HMPBs to protect the right to vote in

Georgia. Curling Plaintiffs have gathered what they could regarding failures in the




14
   GA VOTERS FOR HMPBs, Cobb HMPB Pilot, YouTube (Nov. 15, 2019),
https://www.youtube.com/watch?v=rL_4rihgbhc&feature=youtu.be, (Janine
Eveler: “The counties that were using the Ballot Marking Device were dead in the
water.”); Thomas Hartwell, Eveler: Paper-ballot pilot, new machines a success in
Cobb, Marietta Daily Journal (Nov. 7, 2019),
https://www.mdjonline.com/elections/eveler-paper-ballot-pilot-new-machines-a-
success-in-cobb/article_16eeadb6-0181-11ea-a05e-e7ef327d817c.html.
15
   As the Court previously found, “the scanning technology provided by Dominion
under the State’s contract and funds authorized in connection with HB 316” could
be used to implement a constitutionally-acceptable hand-marked paper ballot
voting system. Curling II, 397 F. Supp. 3d at 1409.

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application of the current system from available sources, and will continue to do so.

They intended to include Court-ordered expedited discovery with this filing, given

State Defendants’ responses were due yesterday. But State Defendants responded

only with a litany of meritless objections—including the very same objections this

Court already rejected.16 (Dkt. No. 775.) They have since refused to comply with

this Court’s Standing Order or to commit to any specific discovery, incredibly

claiming they do not know what the scope of expedited discovery is even though

this Court expressly determined the scope in its Order. (Id.) Defendants also have

failed to comply with their Open Records Act obligations. Curling Plaintiffs will

include with their reply brief whatever relevant evidence they eventually obtain from

Defendants.17 One wonders what they fear will come to light in discovery.

       With another Presidential election and others on the horizon amidst persistent

threats to U.S. elections, it is more important than ever to ensure transparent, secure,

verifiable elections in Georgia—and there is sufficient time to do so this year. The




16
   Cross Decl. Ex. 1, State Defendants’ Objections and Responses to Plaintiffs’
Second Joint Request for Production of Documents and Inspection of Things, dated
August 18, 2020.
17
   Curling Plaintiffs also will rely on any relevant evidence the Coalition Plaintiffs
submit with their forthcoming preliminary injunction motion.

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Court should grant the requested relief and protect the right to vote for Curling

Plaintiffs and all other Georgia voters.

II.    STATEMENT OF FACTS

       On July 29, 2019, Defendants confirmed their intent to award the contract for

the new election system to Dominion Voting Systems, Inc. (“Dominion”). 18

Defendants purchased a system comprised principally of “ImageCast X-Prime

BMDs” (machines that produce QR-coded ballots), and “ImageCast Precinct

Scanner and Tabulators” and “ImageCast Central Scanners” (machines that read

QR-coded ballots). “The printed ballot contains a written summary of the voter’s

choices, as well as a QR code which is read by Dominion’s ImageCast Precinct or

Central tabulator.” (Contract § 3.1.) Under the BMD-based election system, ballot

scanners tabulate votes based on the QR code, not the written text summary. (Id.)

       The election system remains vulnerable to malware interference and

corruption, does not provide a meaningful way for a voter to verify his or her

individual vote, and does not provide for audits sufficient to protect the integrity of


18
  Cross Decl. Ex. 2, Final Contract at Ex. B, Dominion Solution Order (the
“Contract”), § 3.1 (p. 54). The Notice of Intent to Award the Contract for the
election system issued the Monday morning following the Friday evening
conclusion of this Court’s hearing on Plaintiffs’ prior motions for preliminary
injunctive relief. (Dkt. Nos. 552, 555.) The Notice of Award issued 11 days later,
after the required protest period had passed and the Secretary of State certified the
election system. (Dkt. No. 575.)

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the overall vote results in the vast majority of races. (Halderman Decl. ¶¶ 17, 41-

45, 63.) The use of QR codes to encode votes for tabulation runs counter to

longstanding recommendations of election security experts.19 While the election

system purports to provide each voter with a verifiable voting record, the voter is

only able to read the written text summary and not the QR code that the BMD prints

and that the ballot scanner counts.20 Thus, no voter can review and confirm whether

the QR code accurately conveys his or her intended selections.21 Cf. Curling II, 397


19
   See Halderman Decl. ¶ 7(a) (“Attacks on the BMDs could cause them to print
barcodes that differ from voters’ selections. These changes would be undetectable
to voters, who cannot read the encrypted barcodes. Since the barcodes are the only
thing the scanners count, the impact would be a change to the election results. The
only known safeguard that can reliably detect such an attack is to rigorously audit
the human-readable portion of the printouts, which Georgia does not currently
do.”); Kimberly Breedon & A. Christopher Bryant, Counting the Votes: Electronic
Voting Irregularities, Election Integrity, and Public Corruption, 49 U. Mem. L.
Rev. 979, 989 (2019) (with a QR code, “voter verification is impossible because
the voter cannot decipher the QR coded information, and it is only the QR code
that is used to count the votes. . . . [S]uch technology creates an opportunity for
malign actors to flip or otherwise alter votes by manipulating programming codes
in advance or by hacking the technology remotely.”) (citations omitted).
20
   Halderman Decl. ¶ 2; Doug Richards, Critics: New Georgia election machines
skirt accountability, 11Alive (July 30, 2019, 7:19 PM),
https://www.11alive.com/article/news/critics-new-georgia-election-machines-skirt-
accountability/85-efe544c1-94e7-42c7-b8d5-26cfe879596d.
21
   Emil Moffatt, New Georgia Voting Machines Come With The Promise Of Trust.
But Can They Deliver?, WABE (Mar. 10, 2020), https://www.wabe.org/new-
georgia-voting-machines-come-with-the-promise-of-trust-but-can-they-deliver/.
Indeed, this issue has been inherent to electronic voting machines for over a
decade. See Jennifer Cohn, How New Voting Machines Could Hack Our
                                         9
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F. Supp. 3d at 1341 n.10. The Defendants accept and tacitly admit this problem.22

In other words, just as with the GEMS/DRE system this Court already found



Democracy, N.Y. Review of Books (Dec. 17, 2019),
https://www.nybooks.com/daily/2019/12/17/how-new-voting-machines-could-
hack-our-democracy/ (“In 2008, Professor Doug Jones of the University of Iowa
conducted a study that found, in a mock election, one third of voters instructed to
verify a voting machine review screen did not notice that the screen had switched
their selections at the top of the ticket from Obama to McCain (or vice versa). And
a majority of those who did notice assumed that the discrepancy was caused by
their own error in using the machine, as opposed to a problem with the machine
itself.”); see also Mark Niesse, Georgia election officials approve computer
recounts of paper ballots, Atlanta Journal-Constitution (Mar. 1, 2020),
https://www.ajc.com/news/state--regional-govt--politics/georgia-election-officials-
approve-computer-recounts-paper-ballots/UmZhsoi3Fbg4PutT1xSNmJ/ (potential
voter noting that “I cannot read a QR code . . . It’s impossible for a human to
comprehend. I will never truly know whether my vote, the vote I intended to cast,
will be counted.”); Mark Niesse, Georgia House passes bill for new voting
machines with paper ballots, Atlanta Journal-Constitution (Feb. 26, 2019),
https://www.ajc.com/news/state--regional-govt--politics/georgia-house-passes-bill-
for-new-voting-machines-with-paper-ballots/Zk42OXOotf0S6MKwk8R5KM/
(State Representative Jasmine Clark noted similar concerns “Bar codes are
changeable and hackable, and the voter could not be sure that what was on the
summary was actually what was counted.”).
22
   Justin Gray, Georgia’s new paper ballots: Security upgrade or security risk?,
WSB-TV (Feb. 19, 2020, 10:29 AM),
https://www.wsbtv.com/news/local/georgias-new-paper-ballots-security-upgrade-
or-security-risk/QUEAEUOLSBDOBODD4UP3DZMEMY/ (When asked “what
do you say to people who have these concerns about the QR code . . . That they
could be vulnerable to hackers, somebody could change that and we’d never know
it,” Georgia Secretary of State Brad Raffensperger provided a familiar refrain
suggesting that the Georgia could remedy this flaw with audits “[t]hat’s why we do
system check, system check, system check, and that’s why the audit then also
points that out . . . [w]hen we do an audit this is what we look at, we do not do
audit the bar code. we look at the actual selections.”)
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unconstitutional, the current election system prevents voters from verifying that their

votes are actually what they intended.

       Like any computer, a BMD is vulnerable to intentional forms of manipulation

(such as hacking, installation of malware, or alteration of installed software), as well

as unintentional forms of manipulation or corruption. (Halderman Decl. ¶¶ 7-17.)

Indeed, specific vulnerabilities have been identified with Dominion’s election

software and hardware. Dominion admitted that the device relies on software

released in February 2015, which has not received security updates since March

2018. (Halderman Decl. ¶ 17.) As of August 2020, it contains 254 documented

vulnerabilities. (Id.)

       Dominion’s vulnerabilities have also been exposed in practice. In February

2019, Texas voting system examiners refused to certify Dominion’s election

management system due to a number of problems with software and equipment,

including the fact that Dominion’s hardware could be connected to the internet.23

(Hurley Letter at 2-5; Halderman Decl. ¶¶ 19-20.) And, during the 2019 “DEF CON

Voting Machine Hacking Village,” participating hackers probed a Dominion



23
  Dkt. No. 586 at 20 (citing Tex. Sec’y of State, January 16-17, 2019 – Examiner
Reports of Dominion Voting System Democracy Suite 5.5,
https://www.sos.texas.gov/elections/laws/jan2019_dominion.shtml (last visited
Aug. 19, 2020)).

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ImageCast Precinct device, in the same line of equipment that will be used in the
                   24
election system.        Participants identified numerous vulnerabilities in the

application, and even loaded an operating system of their choice to the ImageCast

Precinct device, using its screen to play the video game “Pong.” (DEF CON Report

at 19.) These BMD systems thus suffer from demonstrated security vulnerabilities

of the same nature as those that plagued Georgia’s GEMS/DRE system.

       These vulnerabilities could cause the BMDs to print QR codes that do not

match what the voter entered or cause a ballot scanner to improperly tabulate votes

against the intent of the voter.25 And if such a manipulation occurs, a voter has no

way to detect whether a QR code is inconsistent with his or her intent. (Halderman

Decl. ¶ 32.)26 Defendants have promised audits to ameliorate these apparent security

vulnerabilities. (Dkt. No. 645-1 at 6; Dkt. No. 658 at 13-14, 22; Dkt. No. 658-3,



24
   Cross Decl. Ex. 3, DEF CON 27 Voting Machine Hacking Village Report (“DEF
CON Report”) at 18-19.
25
   Andrew Appel, Design flaw in Dominion ImageCast Evolution voting machine,
Ctr. for Info. Tech. Policy, Princeton Univ. (Oct. 16, 2018), https://freedom-to-
tinker.com/2018/10/16/design-flaw-in-dominion-imagecast-evolution-voting-
machine/.
26
   See also Andrew Appel, Richard DeMillo & Philip B. Stark, Ballot-Marking
Devices (BMDs) Cannot Assure the Will of the Voters, Social Science Research
Network (Dec. 27, 2019, last revised Jan. 4, 2020),
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3375755 [hereinafter Appel et
al.].)

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Gilbert Decl. ¶¶ 19-23; Dkt. No. 717 at 7-8.) But Georgia law does not require and

There is no record that Defendants have committed to the kind of audits necessary

to detect an attack of this kind. (Halderman Decl. ¶¶ 34-35.) Meanwhile, Georgia’s

election system faces a high risk of being targeted by sophisticated adversaries,

including Russia and other hostile foreign governments, again. (Halderman Decl.

¶¶ 11, 59-60.) In this environment, Georgia’s BMD-based election system does not

achieve the level of security necessary to withstand an attack by sophisticated

adversaries—it suffers from severe security risks much like those of the DRE-based

election system. (Halderman Decl. ¶ 5.)

       Voter behavior compounds the inability to verify vote results under the

election system. Even if the QR code is consistent with the text summary, both may

still be inconsistent with the voter’s intent and go undetected. Many (if not most)

voters do not or cannot verify human-readable summaries produced by machines

even when specifically directed to do so. (Id. ¶¶ 32, 42 (only 6.5% of unprompted

participants in controlled experiment noticed when votes had been changed 27 );

Appel et al. at 9 (citing research that voters fail to recognize errors in ballots




27
  Matthew Bernhard et al., Can Voters Detect Malicious Manipulation of Ballot
Marking Devices?, Univ. of Mich. 7 (2020), https://jhalderm.com/pub/papers/bmd-
verifiability-sp20.pdf.
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presented to them for verification or fail to recognize that the presented ballots were

not theirs); accord Lee I at 2-3.)

         Any attack upon such a system would be highly difficult, and perhaps

impossible, to detect. On those occasions where voters do notice a discrepancy,

research suggests that they are far more likely to attribute it to their own mistake.28

It is unlikely a sufficient number of voters would complain; thus, poll workers would

be unlikely to notice a systemic failure or manipulation. (Halderman Decl. ¶ 42.)

Even the Defendants’ own election security expert, Dr. Shamos, advised against the

current election system, testifying that if a BMD is going to be used at all, the BMD

should not use a QR code. (Dkt. No. 554, Shamos Dep. at 56:13-57:2, 57:13-21.)

         The unreliable use of the BMD system further evidences the need for HMPBs.

Georgia voters were harmed by the long lines and technical problems encountered

in the June 9, 2020 elections. (Franzoni Decl. ¶¶ 8-9.) Problems with system

reliability at multiple levels caused unacceptable delays in voting and possibly

disenfranchisement altogether. (Franzoni Decl. ¶ 8.) Compounding the problem, no

clear procedures were implemented to permit voters to easily switch to paper ballots

when the machines broke down, without an onerous, time-consuming process that

increased wait times. (Franzoni Decl. ¶ 9.)


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     Id. at 9.
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       In sum, the election system remains vulnerable to cyberattacks, voters have

no means of verifying their individual votes, and Defendants cannot be relied upon

to ensure the integrity of the system.

III.   ARGUMENT
       Plaintiffs readily meet the requirements necessary for this Court to issue a

preliminary injunction. See League of Women Voters of Fla., 314 F. Supp. 3d at

1215 (citing Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000)). Plaintiffs are

likely to succeed again in proving a violation of the Equal Protection and Due

Process Clauses of the Fourteenth Amendment. U.S. Const. amend. XIV, § 1.

BMD-generated QR code ballots impose an unconstitutional burden, given the

unverifiable nature of such a system, the myriad flaws in Georgia’s hasty

implementation and use of that system, and the persistent threats of hacking and vote

manipulation in today’s environment.29

       Defendants must show a compelling state interest in the use of the election

system to justify this severe burden. They cannot. In fact, they can offer no need—



29
  As this Court lamented in its August 15, 2019 order, “the Secretary of State’s
efforts in monitoring the security of its voting systems have been lax at best – a
clear indication that Georgia’s computerized election system is vulnerable in actual
use.” Curling II, 397 F. Supp. 3d at 1359. Continuing to rely on a voting system
necessarily dependent on the security and functionality of computer software
introduces unnecessary insecurity and unreliability into Georgia’s elections.

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or reason at all—for using computer-generated, unreadable QR codes to tabulate

votes. Moreover, such a system undermines important state interests in preventing

fraud and promoting voter confidence. The State’s own expert in this case and the

lone cybersecurity expert on the State’s Secure, Accessible, Fair Elections (“SAFE”)

Commission each expressly advised against the use of BMDs and election systems

relying on QR-coded ballots. (Dkt. No. 554 at 57:14-21 (Q: “You agree that if a

BMD is going to be used, the more reliable approach is one that is readable by the

human voter, and that what’s going to get tallied is what they can actually read

themselves; is that fair?” [Objection] A: Yes, I agree.”).)30

       As before, the other preliminary injunction factors favor Curling Plaintiffs as

well. They will unquestionably suffer irreparable injury absent relief—such injury




30
  See also Lee I at 2 (“[T]o have a voter cast his vote on a [BMD] with a cyber
component, and print out a paper receipt that the voter would verify” is “much less
desirable” than “hand-marked paper ballots, [where] a voter both casts and
verifies” his or her selections, in part because the BMD “may have a vulnerability
that could be exploited to change votes.”). Post-election audits do not alleviate Dr.
Lee’s concerns: “A manual count absolutely cannot rely upon a QR code, QR
code, or any other kind of encoding scheme that is readable only by a machine
because the cyber system that reads those codes also can be compromised and lie
to the voter or auditor.” (Id. at 2; see also Dkt. No. 615-3 at 2 (“[I]t is meaningless
to perform a post-election audit on printouts that cannot be guaranteed to be valid
in the first place; the audit would just be ‘garbage-in, garbage-out,’ and perhaps
worse, give a false sense of accuracy or legitimacy of the election results.”); Dkt.
No. 554 at 57:23-58:12.)

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is presumed in cases involving the right to vote. Because the injury to Curling

Plaintiffs far outweighs any injury to the State Defendants in not implementing the

election system and because the public interest favors an injunction, injunctive relief

should issue.

       In its August 6, 2020 Notice of Supplemental Authority (Dkt. No. 766), the

Defendants misconstrue such as Republican National Committee v. Democratic

National Committee, 140 S. Ct. 1205 (2020) (“RNC”) and Purcell v. Gonzalez, 549

U.S. 1 (2006), and invite the Court to do the same. For example, Defendants invoke

RNC to support their position that the Court should not intervene to alter “election

rules on the eve of an election.” (Dkt. No. 766 at 3.) As a threshold matter, neither

RNC nor Purcell authorizes a state to foist an unconstitutional voting system on its

residents. The Supreme Court has adopted no rule barring courts from stopping such

violations, even on the eve of an election. Voters always enjoy the right to secure,

verifiable elections.

       Moreover, the circumstances of RNC are vastly different than those presented

here. First, the court in RNC ordered relief that the plaintiffs in that case did not

request. In RNC, a district court in Wisconsin “unilaterally ordered that absentee

ballots mailed and postmarked after election day” still be counted so long as they

were received six days later, even though the Plaintiffs did not request this relief.


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140 S. Ct. at 1207. The Supreme Court found this “a critical point.” Id. Second,

the Curling Plaintiffs do not seek any changes to the dates for the upcoming

elections, nor do they seek relief related to absentee ballots at all. Finally, the stay

in that case was handed down less than a week before the relevant election. Id. at

1206-07. In RNC, the Court simply addressed an abuse of discretion in ordering

overly-expansive extraordinary relief based on the specific facts of that case.

       Defendants similarly misconstrue Purcell. (Dkt. No. 766 at 3.) In Purcell,

the plaintiffs filed suit opposing voter identification procedures in Arizona, and the

district court denied the injunction in an order that made no factual or legal findings.

549 U.S. at 2-3. On appeal, the Ninth Circuit issued a temporary injunction pending

the result of the appeal without providing any findings of fact or reasoning for its

decision. Id. at 3. Soon after, the district court found that the plaintiffs did not have

a likelihood of success and were not entitled to an injunction. Id. at 4. But because

the stay was pending at the Ninth Circuit, however, the injunction pending appeal

remained in place. Id. at 4-5. The Court took no position on the merits of the case,

but instead determined that the Ninth Circuit should have given deference to the

district court, which it did not do in its injunction. Id. at 8. This unusual nature of

this case renders it inapposite.




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       The relief Curling Plaintiffs seek also enhances voter safety. The COVID-19

pandemic requires extensive public safety measures to prevent community spread of

this deadly disease.      These measures include social distancing, one-time-use

products, and protective equipment.31 HMPBs help prevent community spread and

protect voters and poll workers. They are one-time use, unlike touchscreens, which

can harbor the COVID-19 virus and require disinfection. 32 Additionally, paper

ballots are unlikely to create the long lines and crowded conditions caused by the

malfunction and shortage of BMD machines in the June 2020 elections; with a BMD

system, only one person can use a BMD at a time, but with a paper ballot, positions

are limited only by the number of dividers and private locations to vote. (See, e.g.,

Franzoni Decl. ¶ 8.) Finally, it is far easier to set up polling locations that are socially

distanced using HMPBs, which require only a flat surface and cardboard privacy

dividers to record votes.

       A.     Curling Plaintiffs Are Likely to Succeed on the Merits

              1.     Curling Plaintiffs Have Standing

       Each Curling Plaintiff meets the requirements for standing: (1) each has



31
   Ctrs. for Disease Control & Prevention, Considerations for Election Polling
Locations (June 22, 2020), https://www.cdc.gov/coronavirus/2019-
ncov/community/election-polling-locations.html.
32
   Id.

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suffered—and faces an imminent prospect of suffering in the future—invasions of

their right to vote resulting in “concrete and particularized” injuries; (2) their injuries

were caused by Defendant’s actions; and (3) their injuries or threat of injuries are

likely to be redressed by the relief they seek. Common Cause/Ga. v. Billups, 554

F.3d 1340, 1349 (11th Cir. 2009).

       The Court found Curling Plaintiffs had standing for their claims in September

2018 and August 2019. Curling v. Kemp, 334 F. Supp. 3d 1303, 1314-18 (N.D. Ga.

2018) (“Curling I”); Curling II, 397 F. Supp. 3d at 1342-47. The Court once again

addressed this issue in a detailed analysis just a few weeks ago, “find[ing] that

Plaintiffs have sufficiently alleged standing.” (Dkt. No. 751 at 12-20.) For the

November 3, 2020 presidential election, each Plaintiff will be required either to vote

in-person using BMDs producing QR-coded ballots or to go through the burdensome

process of voting absentee.        Curling Plaintiffs have a “fundamental right to

participate in an election process that accurately and reliably records their votes and

protects the privacy of their votes and personal information.” Curling I, 334 F. Supp.

3d at 1315. They each therefore suffer imminent and actual harm so long as BMDs

are the method of in-person voting in Georgia because each plans to vote in 2020

elections. (Curling Decl. ¶ 4; Price Decl. ¶ 4; Schoenberg Decl. ¶ 4.) Defendants’

use of the election system is also the cause of Curling Plaintiffs’ respective injuries.


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Finally, as with injuries inflicted by Defendants’ use of the GEMS/DRE system, the

Court is able to redress Curling Plaintiffs’ injuries attributable to the use of BMDs.

       Thus, each of the Curling Plaintiffs has standing to seek such relief.33

             2.     Curling Plaintiffs Are Likely to Succeed on Their Constitutional
                    Claims

       “Voting is, indisputably, a right of the most fundamental significance under

our constitutional structure.” Burdick v. Takushi, 504 U.S. 428, 433 (1992) (internal

quotation marks and citation omitted). In evaluating a state’s election law imposing

restrictions on the right to vote, courts utilize a “sliding-scale balancing analysis.”

League of Women Voters of Fla., 314 F. Supp. 3d at 1215.34 The Court “must weigh

‘the character and magnitude of the asserted injury to the . . . rights that the plaintiff

seeks to vindicate against the precise interests put forward by the State as

justification for the burden imposed by its rule,” and the extent to which those

interests make the burden necessary. Burdick, 504 U.S. at 434 (quoting Anderson v.

Celebrezze, 460 U.S. 780, 789 (1983)). Where, as here, the burden on the right to



33
   The Court has already ruled that State Defendants are proper parties to this
lawsuit. Curling II, 397 F. Supp. 3d at 1346-47.
34
   Because courts have applied the Anderson- Burdick test to claims involving the
right to vote under both the Equal Protection and Due Process Clauses, Curling
Plaintiffs address both claims together for purposes of seeking injunctive relief.
See, e.g., League of Women Voters of Fla., 314 F. Supp. 3d at 1215 (applying
Anderson- Burdick to claims asserted under First and Fourteenth Amendments).

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vote is severe, Defendants must show a compelling state interest that justifies the

burden imposed, and the restriction must be narrowly tailored to that interest.

League of Women Voters of Fla., 314 F. Supp. 3d at 1215.

       Defendants’ intended use of BMDs severely burdens Curling Plaintiffs’

exercise of their right to vote. The election system maintains serious security flaws

at every level, including: (1) machines that both are susceptible to viruses and other

malicious code and produce results that cannot be effectively audited; (2) memory

devices and data transfer methods that can be easily compromised and used as

vehicles for malicious code;35 and (3) ballots that the voter cannot verify accurately

reflect his or her choices. (Dkt. No. 387-2 at ¶¶ 12-13; Appel et al. passim.) It is

also likely that an attack would be undetectable, because the State has declined to

forensically examine its own systems to look for one. Curling II, 397 F. Supp. 3d at

1364, 1367. The lack of adequate computer security measures, including proper

software hygiene, hardware control, and operator practices is obvious, apparent, and

documented.


35
  Halderman Decl. ¶¶ 10-11 (“The BMD-based election system is at further
heightened risk of attack because of the legacy of poor security in Georgia’s old
DRE-based election system and its associated computers and networks . . . . All
these components continue to be used with the new voting system, including to
process data that is copied to polling-place equipment. If attackers breached any of
them to attack the DRE-based system, those attackers may continue to have such
access under the BMD-based system.”)
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       As the Court has previously noted, it must not “review such claims in a

vacuum but do so with a focus on the real-world justifications and implications of

[Defendants’] decision[s].” Stewart v. Blackwell, 444 F.3d 843, 876 (6th Cir. 2006);

see Dkt. No. 375 at 41. The Court found that U.S. and Georgia elections alike are

targets of hackers seeking to disrupt the voting process. Curling II, 397 F. Supp. 3d

at 1355-58 (discussing NAS Report and SSCI Report findings). Defendants’ well-

established, neglectful attitude toward security and evasive conduct adds an

additional burden on Curling Plaintiffs’ rights. Id. at 1367-68 (“Georgia’s election

system is not in fact an impenetrable secure air gapped system safe from intrusion

or an advanced persistent threat.”). Indeed, as the 2020 elections draw near, the

evidence is clear: bad actors are attempting to compromise elections in the United

States once again.36 Inherent risk, actual threat, persistent and stubborn inaction—


36
   See U.S. Office of the Dir. of Nat’l Intelligence, Statement by NCSC Director
William Evanina: Election Threat Update for the American Public (Aug. 7, 2020,
1:07 PM), https://www.dni.gov/index.php/newsroom/press-releases/item/2139-
statement-by-ncsc-director-william-evanina-election-threat-update-for-the-
american-public (“Ahead of the 2020 U.S. elections, foreign states . . . may also
seek to compromise our election infrastructure for a range of possible purposes,
such as interfering with the voting process, stealing sensitive data, or calling into
question the validity of the election results.”); see also Julian E. Barnes, Russia
Continues Interfering in Election to Try to Help Trump, U.S. Intelligence Says,
N.Y. Times (Aug. 7, 2020),
https://www.nytimes.com/2020/08/07/us/politics/russia-china-trump-biden-
election-interference.html (“The director has basically put the American people on
notice that Russia in particular, also China and Iran, are going to be trying to
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all compound the burden on Curling Plaintiffs’ right to vote.

       Georgia’s decision to use BMDs and ballot scanners using QR codes to

tabulate votes is unsecure and unreliable. (Halderman Decl. ¶¶ 7-12, 41.) The

election system prevents auditability because an auditor cannot determine whether

the machines truly captured the voters’ intent: a human auditor cannot read the QR

code, and most voters as an empirical matter do not or cannot verify the written

summary accompanying the QR code under election conditions. (Halderman Decl.

¶¶ 7, 41.) And even if voters could reliably and consistently verify the human-

readable portion of BMD-generated ballots, that would do them no good since the

QR codes may reflect different selections. There is no guarantee, whether due to

miscoding, firmware malfunction, hacking, or other error that the QR codes read by

scanners match the text summary provided elsewhere on the ballot. Thus, Georgia’s

current election system cannot produce an auditable record—as confirmed with the

recent pilot “audit” in Fulton County.



meddle in this election and undermine our democratic system”); Office of the
Spokesperson, Rewards for Justice – Reward Offer for Information on Foreign
Inteference in U.S. Elections, U.S. Dep’t of State (Aug. 5, 2020),
https://www.state.gov/rewards-for-justice-reward-offer-for-information-on-
foreign-interference-in-u-s-elections/ (United States Department of State Reward
of up to $10 million “for information leading to the identification or location of
any person who works with or for a foreign government for the purpose of
interfering with U.S. elections through certain illegal cyber activities.”).

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       Defendants cannot impose the aforementioned burdens on Plaintiffs absent

significant, “precise” interests that “explain why it is necessary to burden the

plaintiff’s rights” and show that the burden is narrowly tailored to further that

interest. League of Women Voters of Fla., 314 F. Supp. 3d at 1220 (internal

quotation marks and citation omitted). Defendants have not, nor can they, articulate

any such interests.      Finally, “[a]dministrative convenience is simply not a

compelling justification in light of the fundamental nature of the right.” Stewart,

444 F.3d at 869 (citing Frontiero v. Richardson, 411 U.S. 677, 690 (1973)

(plurality)).

       Thus, Curling Plaintiffs are likely to succeed on the merits of their claims.

       B.       Curling Plaintiffs Will Unquestionably Suffer Irreparable Injury
                Absent Court Intervention
       The continued injury burdening and depriving Georgia electors of their

respective fundamental rights to vote is irreparable. Curling II, 397 F. Supp. 3d at

1401-02; see League of Women Voters of N.C. v North Carolina, 769 F.3d 224, 247

(4th Cir. 2014) (holding that impairment of right to vote cannot be undone or

adequately redressed once an election occurs). Georgia’s current election system

imminently and irreparably harms Curling Plaintiffs, “even if such conduct does not

completely deny Plaintiffs the right to vote.” Curling I, 334 F. Supp. 3d at 1322

(citation omitted).

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       This system is unconstitutional much like the condemned GEMS/DRE

system. As this Court has acknowledged, use of an election system that threatens

Curling Plaintiffs’ votes will not be counted accurately or equally in upcoming

elections constitutes “real risk of suffering [of] irreparable injury without court

intervention.” Curling I, 334 F. Supp. 3d at 1325-26. The same finding is warranted

here because the election system poses the same threat. The threat to Curling

Plaintiffs’ right to vote, let alone to voter confidence, has not changed since the State

implemented the new election system. Not only was the implementation rushed and

incompetently managed, but Georgia voters at large were directly injured, standing

in—or worse, forced to abandon—long lines for hours due to equipment failures.37

The resulting national news coverage documented the Defendants’ failure to

successfully deploy the election system and its inability to switch to paper ballots

when the system did not meet expectations.38 There is no reason to expect different

events this fall.



37
   Paul Steinhauser & Marisa Schultz, Georgia officials clash as long lines, voting
machine problems plague primary day, Fox News (June 9, 2020),
https://www.foxnews.com/politics/georgia-long-lines-primary.
38
   Sam Levine & Suman Naishadham, Georgia primary blighted by long lines and
broken voting machines, The Guardian (June 9, 2020, 1:52 PM),
https://www.theguardian.com/us-news/2020/jun/09/georgia-election-primary-long-
lines-broken-voting-machines.

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       C.    Balancing the Equities and Considering the Public Interest Heavily
             Favor Injunctive Relief

       Any burden injunctive relief would place on Defendants is far outweighed by

the ongoing injury to Curling Plaintiffs if relief is not granted. Curling Plaintiffs

have shown, and this Court has recognized, the “threat of real harms” to the

constitutional interests at stake in this case. Curling I, 334 F. Supp. 3d at 1326. The

injunction Curling Plaintiffs seek would remedy known, preventable risks that

election interference or machine errors may alter or eliminate their votes entirely.

(Curling Decl. ¶ 8; Price Decl. ¶ 12; Schoenberg Decl. ¶ 11.) A preliminary

injunction is in the public interest because it would enhance the integrity and

credibility of the electoral processes that are “essential to the functioning of our

participatory democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006). Indeed, the

widespread problems exhibited during the June 2020 elections brought this interest

into stark relief. (Franzoni Decl. ¶¶ 6-10.)

       Defendants cannot credibly demonstrate injury resulting from the requested

relief. The cost and time it would take for Defendants to implement HMPBs do not

outweigh Curling Plaintiffs’ significant constitutional interests. Officials and poll

workers would require some minor additional training.

       These measures are not “injury” but simply the duties of office, performed

without complaint or controversy in other precincts in the United States. In fact, the

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Defendants have already prepared themselves for extensive use of HMPBs because

they are required to do so under Georgia law. Pursuant to the rules of the Georgia

State Election Board, the Defendants are required to provide HMPBs in exigent

circumstances, which may include moments in which wait times exceed 30 minutes.

State Election Board Rule 183-1-12-.11(2)(c)-(d). Next, Georgia’s precinct-based

scanners already have the capability to count hand-marked paper ballots, leaving no

additional burden. (Halderman Decl. ¶ 4.) Lastly, Defendants’ intransigence despite

this Court’s repeated findings that the State abrogated its responsibilities to protect

Georgia’s election system, lacked competence, and, eventually, even candor to the

tribunal undermines any assertion of state interests in safeguarding voter confidence

and preserving election integrity.

       The State’s quixotic fixation on the BMD system ignores the simpler solution

that remedies all of these problems: hand-marked paper ballots for all who can

feasibly use them. There is no reason why these burdens on Georgia voters should

continue when a less restrictive (and far less expensive) alternative is readily

available. Much of the Dominion equipment can be repurposed for use in a

constitutional manner. As the Court has acknowledged, the State’s RFP initially

called for “rapid full ballot image/ballot counting scanners for absentee and

provisional ballots.” Curling II, 397 F. Supp. 3d at 1341 n.10. The already-


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purchased Dominion precinct and central scanners are capable of counting hand-

marked paper ballots, like those that voters will continue to use when voting absentee

by mail or voting provisionally. (Contract, §§ 4-5 (pp. 54-55) (describing central

and precinct scanner capacity to, inter alia, interpret voter marks on a paper ballot

and to capture scanned images of ballot and to record text showing each mark as

interpreted by the scanner); Halderman Decl. ¶ 4.) This capacity to scan full-face

HMPBs was specifically promoted by Dominion and by State Defendants. Pivoting

to this method now would not require significant reinvestment.

       Georgia can convert to an auditable, accountable system of voter-verified

HMPBs, using much of the same equipment it has already purchased. The injury to

Curling Plaintiffs significantly outweighs any injury to the State Defendants in

implementing human-readable HMPBs. An injunction is unquestionably in the

public’s interest, given the well-documented problems of the Dominion system.

Injunctive relief therefore should issue without delay.

IV.    REQUESTED RELIEF

       The vulnerabilities demonstrated by Curling Plaintiffs and the supporting

evidence offered by election security experts throughout this litigation show that the

election system violates the Fourteenth Amendment to the U.S. Constitution.

Georgia elections must not evade scrutiny and auditability for another election.


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       Thus, Curling Plaintiffs request that the Court:

       1.    Declare that Defendants have violated the Fourteenth Amendment to
             the U.S. Constitution and 42 U.S.C. § 1983;

       2.    Order injunctive relief prohibiting Defendants, from using any system
             or devices for voting, including, but not limited to, the BMD-based
             election system, that does not use hand-marked paper ballots as the
             primary method of recording the elector’s votes;

       3.    Award Curling Plaintiffs their attorneys’ fees and costs under 42 U.S.C.
             § 1988 for the deprivation of civil rights arising from Defendants’
             attempted use of the election system, causing 42 U.S.C. § 1983
             violations; and

       4.    Grant all other relief this Court deems proper.


       Dated: August 19, 2020                  Respectfully submitted,

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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 DONNA CURLING, ET AL.,
     Plaintiffs,
                                             Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
     Defendants.


                     CERTIFICATE OF COMPLIANCE

       Pursuant to LR 7.1(D), I hereby certify that the foregoing document has been

prepared in accordance with the font type and margin requirements of LR 5.1, using

font type of Times New Roman and a point size of 14.


                                            /s/ David D. Cross
                                            David D. Cross




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 DONNA CURLING, ET AL.,
    Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
     Defendants.


                          CERTIFICATE OF SERVICE
       I hereby certify that on August 19, 2020, a copy of the foregoing CURLING

PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR

PRELIMINARY INJUNCTION was electronically filed with the Clerk of Court

using the CM/ECF system, which will automatically send notification of such filing

to all attorneys of record.


                                            /s/ David D. Cross
                                            David D. Cross




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